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13    Attorneys for Plaintiff

14                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
15

16
      LAS VEGAS SUN, INC., a Nevada                  Case No. 2:19-CV-01667-GMN-BNW
17    corporation,
18                       Plaintiff,
                                                     PROPOSED STIPULATED
19
      v.                                             CONFIDENTIALITY AND PROTECTIVE
20                                                   ORDER
      SHELDON ADELSON, an individual and as
21    the alter ego of News+Media Capital Group
      LLC and as the alter ego of Las Vegas Review
22    Journal, Inc.; PATRICK DUMONT, an
      individual; NEWS+MEDIA CAPITAL GROUP
23    LLC, a Delaware limited liability company;
24    LAS VEGAS REVIEW-JOURNAL, INC., a
      Delaware corporation; and DOES, I-X,
25    inclusive,

26                       Defendants.
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 1             Plaintiff Las Vegas Sun. Inc. (“Plaintiff”), by and through its counsel of record, the law

 2    firms of Lewis Roca Rothgerber Christie LLP, Pisanelli Bice PLLC, and the Alioto Law Firm, and

 3    Defendants Sheldon Adelson, Patrick Dumont, News+Media Capital Group LLC, and Las Vegas

 4    Review-Journal, Inc. (“Defendants”), by and through their counsel of record, the law firms of Kemp

 5    Jones, LLP and Jenner & Block LLP, submit this Protective Order under Rule 26(c) of the Federal

 6    Rules of Civil Procedure to protect confidential information and materials that may be made

 7    available in the course of discovery in this action,

 8             IT IS HEREBY ORDERED THAT:

 9             1.     Scope.    This Protective Order shall govern the handling of all documents,

10    depositions, deposition exhibits, interrogatory responses, affidavits and any attached exhibits

11    thereto, or other information produced, given, or exchanged by and among the Parties and any other

12    parties or non-parties to this litigation (collectively, the “Discovery Material”) that have been or

13    may be designated CONFIDENTIAL or ATTORNEY’S EYES ONLY pursuant to this Order (the

14    “Protected Material”).    This Protective Order is binding upon the Parties, their agents and

15    employees, all counsel for the Parties and their agents and employees, and all persons to whom the

16    disclosure of Protected Material under this Protective Order is made.

17             2.     No Use For Other Purposes. All Discovery Material, shall be used by the Parties

18    only for the purpose of conducting this litigation, the matter captioned Las Vegas Sun, Inc. v.

19    News+Media Capital Group LLC, et al., Case No. A-18-772951-B (District Court, Clark County,

20    Nevada) (the “State Court Action”), including any appellate proceedings in either litigation, and

21    not by anyone else or for any other purpose.

22             3.     Producing Person and Receiving Person. Any person or entity who generated (in

23    whole or in part), or provided information contained in any Protected Material, shall be referred to

24    herein as a “Producing Person.” Any person or entity who receives any Protected Material shall be

25    referred to as a “Receiving Person.”

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 1             4.    Counsel. The term “Counsel” shall mean in-house counsel for the respective Parties,

 2    as well as outside counsel for the respective parties and other attorneys, paralegals, secretaries, and

 3    other support staff employed by outside counsel.

 4             5.    Confidentiality Designations. Each Party (or any non-party served with a subpoena

 5    duces tecum by a party) that produces or discloses any Discovery Material that the Producing

 6    Person believes should be subject to this Protective Order may designate the same as

 7    CONFIDENTIAL or ATTORNEY’S EYES ONLY.

 8                    a.     CONFIDENTIAL – The Producing Person may designate the following

 9    Discovery Material as CONFIDENTIAL: sensitive, confidential, or proprietary technical, business,

10    or financial information which gains value from not being generally known or the disclosure of

11    which would harm the business or reputation of the Producing Person, or other information that the

12    Producing Person reasonably believes in good faith is confidential or otherwise qualifies for

13    protection under Federal Rule of Civil Procedure 26(c).

14                    b.     ATTORNEY’S EYES ONLY – The Producing Person may designate the

15    following Discovery Material as ATTORNEY’S EYES ONLY: sensitive, confidential, or

16    proprietary technical, business, or financial information that the Producing Person reasonably

17    believes in good faith will result in competitive or other harm if any individual who is entitled to

18    review material designated CONFIDENTIAL has access to it. Examples of such Discovery

19    Material are trade secrets, highly confidential business information, and proprietary personnel

20    information.

21             6.    In the event the Producing Person elects to produce Discovery Material for

22    inspection, no marking need be made by the Producing Person in advance of the initial inspection.

23    For purposes of the initial inspection, all Discovery Material produced will be considered as

24    ATTORNEY’S EYES ONLY, and must be treated as such pursuant to the terms of this Order.

25    Thereafter, upon selection of specified Discovery Material for copying by the inspecting party, the

26    Producing Party must, within a reasonable time prior to producing the specified Discovery Material

27    to the inspecting party, apply any appropriate confidentiality markings.

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 1             7.    Whenever a deposition taken on behalf of a party involves the disclosure of

 2    CONFIDENTIAL or ATTORNEY’S EYES ONLY Discovery Material of any party or non-party:

 3                    a.     The deposition or portions of the deposition must be designated as containing

 4    Protected Material subject to the provisions of this Order; such designation must be made on the

 5    record whenever possible, but a party or non-party may designate portions of depositions as

 6    containing Protected Material after transcription of the proceedings; a party or non-party will have

 7    until thirty (30) days after receipt of the deposition transcript to inform the parties to the action of

 8    the portions of the transcript to be designated CONFIDENTIAL or ATTORNEY’S EYES ONLY.

 9                    b.     The Producing Party will have the right to exclude from attendance at the

10    deposition, during such time as the Protected Material is to be disclosed, any person other than the

11    deponent, Counsel (including their staff and associates), the court reporter, and person(s) pursuant

12    to paragraph 9 or 10, below (the parties expressly agree to attempt to accommodate each other’s

13    party representatives to the extent practicable and will attempt to provide notice as to when an

14    excluded representative may return to the deposition); and

15                    c.     The originals of the deposition transcripts and all copies of the deposition

16    must bear the legend CONFIDENTIAL or ATTORNEY’S EYES ONLY, as appropriate, and the

17    original or any copy ultimately presented to the court for filing must not be filed unless it can be

18    accomplished under seal, identified as being subject to this Order, and protected from being opened

19    except by order of this Court.

20             8.    All Discovery Material designated as CONFIDENTIAL or ATTORNEY’S EYES

21    ONLY must not be disclosed by the Receiving Person to anyone other than those persons designated

22    within this Order and must be handled in the manner set forth below, and in any event, must not be

23    used for any purpose other than set forth in paragraph 2, unless and until such designation is

24    removed either by agreement of the parties, or by order of the Court.

25             9.    Discovery Material designated ATTORNEY’S EYES ONLY may be viewed only

26    by:

27                   a.      Counsel (as defined in paragraph 4 above) of the Receiving Person;

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 1                    b.      Independent experts and stenographic and clerical employees associated

 2    with such experts, provided that they execute the attached Exhibit A). Prior to receiving any

 3    Protected Material of the Producing Person, the expert must execute a copy of the Agreement to Be

 4    Bound by Stipulated Protective Order,” attached hereto as Exhibit A. Counsel for the Receiving

 5    Person must retain executed copies of such exhibits;

 6                    c.      The Court and any Court staff and administrative personnel;

 7                    d.      Any court reporter employed in this litigation and acting in that capacity; and

 8                    e.      Any person indicated on the face of the document to be its author or co-

 9    author, or any person identified on the face of the document as one to whom a copy of such

10    document was sent before its production in this action.

11             10.    Discovery Material designated CONFIDENTIAL may be viewed only by the

12    individuals listed in paragraph 9 above, and by the additional individuals listed below:

13                    a.      Party principals or executives who are required to participate in policy

14    decisions with reference to this action;

15                    b.      Technical personnel of the parties with whom Counsel for the parties find it

16    necessary to consult, in the discretion of such Counsel, in preparation for trial of this action; and

17                    c.      Stenographic and clerical employees associated with the individuals

18    identified above.

19             11.    All information that has been designated as ATTORNEY’S EYES ONLY by the

20    Producing Person, and any and all reproductions of that information, must be retained in the custody

21    of the Counsel for the Receiving Person, except that independent experts authorized to view such

22    information under the terms of this Order may retain custody of copies such as are necessary for

23    their participation in this litigation, but only during the course of this litigation.

24             12.    Before any Protected Material is filed with the Court for any purpose, the party

25    seeking to file such material must seek permission of the Court to file the material under seal.

26    Unless otherwise permitted by statute, rule or prior order, papers filed with the court under seal

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 1    shall be accompanied by a contemporaneous motion for leave to file those documents under seal,

 2    and shall be consistent with the court’s electronic filing procedures in LR IA 10-5.

 3             13.    At any stage of these proceedings, any party may object to a designation of

 4    Discovery Material as Protected Material. The parties agree that disputes over the designations of

 5    Protected Material shall be resolved by the process identified in paragraph 6 of the Discovery Plan

 6    and Scheduling Order (Dkt. No. 74), or by such other process as the Court may direct.

 7             14.    All Protected Material must be held in confidence by those inspecting or receiving

 8    it. To the extent the Protected Material has not been disclosed prior to and apart from this litigation,

 9    it must be used only for purposes of this action, or as set forth in paragraph 2. If the Protected

10    Material was exchanged between the parties and/or producing non-party prior to and apart from

11    this litigation for purposes of conducting their respective businesses, the parties may continue to

12    use that otherwise Protected Material for that purpose. The parties may not distribute the Protected

13    Material beyond those persons or entities that had received the Protected Material prior to this

14    litigation. In addition, Counsel for each party, and each person receiving Protected Material, must

15    take reasonable precautions to prevent the unauthorized or inadvertent disclosure of such

16    information. If Protected Material is disclosed to any person other than a person authorized by this

17    Order, the party responsible for the unauthorized or inadvertent disclosure must (a) immediately

18    bring all pertinent facts relating to the disclosure to the attention of the other parties; (b) use its best

19    efforts to retrieve all copies of the Protected Material; and (c) without prejudice to any rights and

20    remedies of the other parties, make every effort to prevent further disclosure by the party and by

21    the person(s) receiving the disclosure (including asking such person(s) receiving the disclosure to

22    execute the “Agreement to Be Bound by Stipulated Protective Order” attached hereto as Exhibit

23    A).

24             15.    No party will be responsible to a Producing Person for disclosure of Protected

25    Material under this Order if the information in question is not labeled or otherwise identified as

26    such in accordance with this Order.

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 1             16.   If a party or non-party, through inadvertence, produces any Discovery Material

 2    without labeling or marking or otherwise designating it as such in accordance with this Order, the

 3    Producing Person may give written notice to the Receiving Person that the Discovery Material

 4    produced are deemed Protected Material, and that the Discovery Material produced should be

 5    treated as such in accordance with the appropriate designation under this Order. If the Receiving

 6    Person has disclosed the Discovery Material before receiving the designation, the Receiving Person

 7    must notify the Producing Person in writing of each such disclosure. Counsel for the parties will

 8    agree on a mutually acceptable manner of labeling or marking the inadvertently produced Discovery

 9    Material as CONFIDENTIAL or ATTORNEY’S EYES ONLY.

10             17.   If a non-party produces Discovery Material that a party reasonably believes should

11    be designated as Protected Material, that party may designate such Discovery Material as

12    CONFIDENTIAL or ATTORNEY’S EYES ONLY by providing written notice to the other parties

13    and the non-party.

14             18.   Nothing within this Order will prejudice the right of any party to object to the

15    production of any discovery material on the grounds that the material is protected as privileged or

16    as attorney work product.

17             19.   Nothing in this Order will bar Counsel from rendering advice to their clients with

18    respect to this litigation and, in the course thereof, relying upon any information designated as

19    Protected Material, provided that the contents of the information must not be disclosed.

20             20.   This Order will be without prejudice to the right of any party to oppose production

21    of any information for lack of relevance or any other ground other than the mere presence of

22    Protected Material. The existence of this Order must not be used by either party as a basis for

23    discovery that is otherwise improper under the Federal Rules of Civil Procedure.

24             21.   Discovery Material designated as Protected Material pursuant to this Order also may

25    be disclosed if:

26                   a.     the Producing Person making the designation consents to such disclosure;

27                   b.     the Court, after notice to all affected persons, allows such disclosure; or

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 1                    c.     the Receiving Person becomes obligated to disclose the information in

 2    response to a lawful subpoena, provided that the subpoenaed party gives prompt notice to Counsel

 3    for the Producing Person, and permits Counsel sufficient time to intervene and seek judicial

 4    protection order in the action in which the subpoena was issued.

 5                    d.     mock jury participants and jury consultants (not more than fifty (50)

 6    individuals per side), who, prior to the Disclosure and their receipt of Discovery Materials, counsel

 7    for the Party making the Disclosure shall deliver a copy of this Stipulated Confidentiality and

 8    Protective Order to such person, shall explain that such person is bound to follow the terms of such

 9    Order, and shall secure the signature of such person on a statement in the form attached hereto as

10    Exhibit A. Counsel must retain executed copies of the Exhibit As executed by each mock jury

11    participant and consultant. The parties may not disclose ATTORNEY’S EYES ONLY materials

12    to mock jury participants. Subject to the conditions in this paragraph, mock jurors shall not be

13    permitted to take home or keep any documents, notes, or other materials created or used by, or

14    provided to, them during any research session, and counsel shall take measures to ensure and

15    account for return of all such materials before dismissing each mock jury participant. Additionally,

16    each mock juror must verify, in writing, that neither they nor members of their immediate family

17    or household are employed by, or affiliated with, a party, a party’s affiliate, or a party-affiliate

18    competitor. It shall be the obligation of counsel, upon learning of any breach or threatened breach

19    of this Stipulated Confidentiality and Protective Order by any mock jury participant or jury

20    consultant, to promptly notify counsel for the Designating Party of such breach or threatened

21    breach.

22              22.   Nothing in this Confidentiality Order shall limit any Producing Person’s use of its

23    own documents or shall prevent any Producing Person from disclosing its own Protected Material

24    to any person. Such disclosures shall not affect any confidentiality designation made pursuant to

25    the terms of this Order so long as the disclosure is made in a manner which is reasonably calculated

26    to maintain the confidentiality of the information. Nothing in this Order shall prevent or otherwise

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 1    restrict Counsel from rendering advice to their clients, and in the course thereof, relying on

 2    examination of Protected Material.

 3             23.   The restrictions and obligations set forth within this Order will not apply to any

 4    information that:

 5                    a.     the parties (and as applicable, producing non-party) agree should not be

 6    designated Protected Material;

 7                    b.     the parties agree (and as applicable, producing non-party), or the Court rules,

 8    is already public knowledge; or

 9                    c.     the parties agree (and as applicable, producing non-party), or the Court rules,

10    has become public knowledge other than as a result of disclosure by the Receiving Person, its

11    employees, or its agents, in violation of this Order.

12             24.   Transmission by e-mail or facsimile is acceptable for all notification purposes within

13    this Order.

14             25.   This Order may be modified by agreement of the parties, subject to approval by the

15    Court.

16             26.   The Court may modify the terms and conditions of this Order for good cause, or in

17    the interest of justice, or on its own order at any time in these proceedings.

18             27.   Upon termination of this litigation and the State Court Action, the originals and all

19    copies, whether exact copies, compilations, digests, or non-exact copies in any form, of Discovery

20    Materials shall, within thirty (30) days, be returned to the entity who produced such Discovery

21    Materials (with the resulting shipping expense to be paid by the producing entity), or shall be

22    destroyed (together with a written certification of the complete destruction of the Discovery

23    Materials), or shall otherwise be disposed as may be mutually agreeable among the applicable

24    entity(ies). Nevertheless, counsel of record may retain their file copies of all filings, official

25    transcripts, exhibits, and other such materials deemed necessary to comply with professional and

26    ethical obligations, provided that counsel continues to treat all Discovery Materials in the manner

27    provided in this Order. Notwithstanding the provisions of this paragraph, inaccessible copies of

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 1    confidential or proprietary material, including electronic copies created through the routine

 2    operation of the recipient(s)’ standard archival and backup procedures, do not need to be returned

 3    or destroyed.

 4             28.    After termination of this action, the provisions of this Order shall continue to be

 5    binding, except with respect to those documents and information that became a matter of public

 6    record. This Court retains and shall have continuing jurisdiction over the parties and Receiving

 7    Persons for enforcement of the provisions of this Order following termination of this litigation.

 8             DATED this 1st day of July, 2020.

 9     LEWIS ROCA ROTHGERBER CHRISTIE LLP                     KEMP JONES, LLP
10
       By: /s/ E. Leif Reid                                   By:    /s/ Michael J. Gayan
11         E. Leif Reid, Bar No. 5750                                J. Randall Jones, Bar No. 1927
           Kristen L. Martini, Bar No. 11272                         Michael J. Gayan, Bar No. 11135
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15           Todd L. Bice, Bar No. 4534                              JENNER & BLOCK LLP
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17                                                                   David R. Singer, Pro Hac Vice
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18           Joseph M. Alioto, Pro Hac Vice                          Los Angeles, California 90071
             Jamie L. Miller, Pro Hac Vice
19           One Sansome Street, 35th Floor                         Attorneys for Defendants
             San Francisco, California 94104
20
            Attorneys for Plaintiff
21
            IT IS SO ORDERED.
22          IT  IS SO ORDERED
            Further,   IT IS ORDERED that plaintiff must file a notice with the Court by July
            8, 2020, at 5:00 PM indicatingITwhether  this protective order renders moot the
                                              IS SO ORDERED:
23          DATED:     4:39  pm, July 06, 2020
            motion at ECF No. 80.
24           IT IS SO ORDERED
                                           ____________________________________
                                           UNITED STATES MAGISTRATE JUDGE
25           DATED: 12:59 pm, July 06, 2020
            _________________________________
            BRENDA WEKSLER                 DATED: ____________________________
26
            UNITED STATES MAGISTRATE JUDGE
27           _________________________________
             BRENDA WEKSLER
28           UNITED STATES MAGISTRATE JUDGE
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 1                                                EXHIBIT A

 2
                                        UNITED STATES DISTRICT COURT
 3                                           DISTRICT OF NEVADA
 4

 5    LAS VEGAS SUN, INC., a Nevada                       Case No. 2:19-CV-01667-GMN-BNW
      corporation,
 6

 7                         Plaintiff,

 8    v.

 9    SHELDON ADELSON, an individual and as
      the alter ego of News+Media Capital Group
10    LLC and as the alter ego of Las Vegas Review
      Journal, Inc.; PATRICK DUMONT, an
11
      individual; NEWS+MEDIA CAPITAL GROUP
12    LLC, a Delaware limited liability company;
      LAS VEGAS REVIEW-JOURNAL, INC., a
13    Delaware corporation; and DOES, I-X,
      inclusive,
14
                           Defendants.
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16             AGREEMENT TO BE BOUND BY STIPULATED PROTECTIVE ORDER
17                    I,                                                           , declare and say that:
18             1.     I am employed as
19    by                                                                                          .
20             2.     I have read the Stipulated Confidentiality and Protective Order (the “Order”) entered
21    in Las Vegas Sun, Inc. v. Sheldon Adelson, et al., and have received a copy of the Order.
22             3.     I promise that I will use any and all CONFIDENTIAL information, as defined in the
23    Order, given to me only in a manner authorized by the Order, and only to assist Counsel in the
24    litigation of this matter.
25             4.     I promise that I will not disclose or discuss such CONFIDENTIAL information with
26    anyone other than the persons described in paragraphs 5 and 6 of the Order.
27             5.     I acknowledge that, by signing this agreement, I am subjecting myself to the
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 1    jurisdiction of the United States District Court of Nevada with respect to the enforcement of the

 2    Order.

 3             6.      I understand that any disclosure or use of CONFIDENTIAL information in any

 4    manner contrary to the provisions of the Protective Order may subject me to sanctions for contempt

 5    of court.

 6             7.      I will return all CONFIDENTIAL Discovery Material (as defined in the Order) to

 7    the attorney who provided it to me, upon request of that attorney, and I shall not retain any copies

 8    of said Discovery Material or any information contained within CONFIDENTIAL Discovery

 9    Material.

10             I declare under penalty of perjury that the foregoing is true and correct.

11             Date:
                                                      Signature
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